                   Case 2:10-cr-00237-GEB Document 91 Filed 01/09/12 Page 1 of 4


 1   Law Offices of Preeti K. Bajwa
     Preeti K. Bajwa (SBN 232484)
 2
     901 H. Street, Suite 208
 3   Sacramento, CA 95814
     (916) 444-7100
 4
 5   Attorney for Defendant
     GARY JASON GRANT
 6
 7
                                     IN THE UNITED STATES DISTRICT COURT
 8
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA                           No. 2:10-CR-0237
11
12                        Plaintiff,                    STIPULATION AND [PROPOSED]
                                                        ORDER CONTINUING STATUS
13             vs.                                      CONFERENCE DATE AND EXCLUDING
14                                                      TIME UNDER THE SPEEDY TRIAL ACT
     GARY JASON GRANT, et. al.,
15                                                      DATE: January 6, 2012
16                                                      TIME: 9:00 a.m.
                          Defendant                     JUDGE: Hon. Garland Burrell
17
18             It is hereby stipulated and agreed to between the United States of America through

19   Samuel Wong, Assistant U.S. Attorney, and the defendants, Gary Jason Grant, Timothy Thomas
20
     Seaver, and Michael Christopher Moore by and through their respective attorneys, that: (1) the
21
     presently set January 6, 2012 motion hearing shall be continued to February 17, 2012 at 9:00
22
23   a.m.; and (2) time from the date of the parties' stipulation, January 6, 2012 through and including,
24
     February 17, 2012, shall be excluded from computation of time within which the trial of this
25
     matter must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. section
26
27   3161(h)(7)(A) and (B)(ii) and (iv) and Local Codes T2 (complex and unusual case) and T4
28   (reasonable time for defense counsel to prepare).


     Stipulation & Order Grant 1.5.12.doc         -1-
     01/06/12
                   Case 2:10-cr-00237-GEB Document 91 Filed 01/09/12 Page 2 of 4


 1             The parties note that this case stems from the earlier investigation and prosecution of
 2
     Daren Glosser and Shannon Selle, Case No. CRS 05-309 GEB, which this Court previously
 3
     determined to be complex and unusual within the meaning of the Speedy Trial Act based on the
 4
 5   grounds that the conspiracy charge spans almost four years and the case involves approximately
 6   22 search warrants, hundreds of exhibits, numerous witnesses, and multiple law enforcement
 7
     agencies. Consequently, in the instant case, the United States has produced substantial
 8
 9   voluminous discovery consisting of thousands of documents to defense counsel and they will
10   need additional time to review the discovery, investigate the facts, and conduct legal research
11
     regarding possible defenses.
12
13             Based on these facts, the parties stipulate and agree that the instant case is unusual and

14   complex and it is unreasonable to expect adequate preparation for pretrial proceedings and trial
15
     itself within the time limits established in section 3161. In addition, the parties stipulate and agree
16
17   that the trial delay and exclusion of time requested herein is necessary to provide defense counsel

18   reasonable time to prepare their respective clients' defenses taking into account due diligence.
19
20
21   DATED: January 5, 2012

22                                                  Respectfully submitted,

23                                                  _/s/ Preeti Bajwa_________________
24                                                  PREETI K. BAJWA
                                                    Attorney for Defendant
25                                                  GARY JASON GRANT
26
27
28


     Stipulation & Order Grant 1.5.12.doc        -2-
     01/06/12
                   Case 2:10-cr-00237-GEB Document 91 Filed 01/09/12 Page 3 of 4


 1
     DATED: January 5, 2012
 2
                                                  Respectfully submitted,
 3
 4                                                _/s/ Dan Frank Koukol_________________
                                                  DAN FRANK KOUKOL
 5
                                                  Attorney for Defendant
 6                                                MICHAEL CHRISTOPHER MOORE
 7
     DATED: January 5, 2012
 8
                                                  Respectfully submitted,
 9
                                                  _/s/ Matthew Bockman______________
10
                                                  MATTHEW BOCKMAN
11                                                Attorney for Defendant
                                                  TIMOTHY THOMAS SEAVER
12
13
     DATED: January 5, 2012                      BENJAMIN WAGNER
14                                               United States Attorney
15
                                                  _/s/ Samuel Wong
16                                                SAMUEL WONG
17                                                Assistant U.S. Attorney
                                                  Attorney for Plaintiff
18
19
20
21
                                                 ORDER
22
23             The Court, having received, read, and considered the stipulation of the parties, and

24   good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its
25
     order. Based on the stipulation of the parties and the recitation of facts contained therein,
26
     the Court finds that this case is unusual and complex and that it is unreasonable to expect
27
28   adequate preparation for pretrial proceedings and trial itself within the time limits


     Stipulation & Order Grant 1.5.12.doc       -3-
     01/06/12
                             Case 2:10-cr-00237-GEB Document 91 Filed 01/09/12 Page 4 of 4


 1   established in 18 U.S.C. section 3161. In addition, the Court specifically finds that the
 2
     failure to grant a continuance in this case would deny defense counsel reasonable time
 3
     necessary for effective preparation, taking into account the exercise of due diligence. The
 4
 5   Court finds that the ends of justice to be served by granting the requested continuance
 6   outweigh the best interests of the public and the defendants in a speedy trial.
 7
                           The Court orders that the time from the date of the parties' stipulation, January 5,
 8
 9   2012, to and including the new February 17, 2012, motion hearing date shall be excluded
10
     from computation of time within which the trial of this case must be commenced under
11
12   the Speedy Trial Act, pursuant to 18 U.S.C. section 3161(h)(7)(A) and (B)(ii) and (iv),

13   and Local Codes T2 (unusual and complex case) and T4 (reasonable time for defense
14
     counsel to prepare). It is further ordered that a status conference shall be held on February
15
     17, 2012, at 9:00 a.m.
16
17   Date: 1/6/2012

18                                                                    _________________________
                                                                      GARLAND E. BURRELL, JR.
19
     DEAC_Signature-END:
                                                                      United States District Judge
20
21   61khh4bb

22
23
24
25
26
27
28


     Stipulation & Order Grant 1.5.12.doc                   -4-
     01/06/12
